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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DONALD J. TRUMP,

                    Plaintiff,               Case No. 19-cv-8694

              v.                             MOTION FOR ADMISSION
                                             PRO HAC VICE
CYRUS R. VANCE, JR., in his official
capacity as District Attorney of the
County of New York, and MAZARS
USA, LLP,

                    Defendants.


      Pursuant to Rule 1.3(c) of the Local Rules of the United States District Court

for the Southern District of New York, I, Walter Dellinger, hereby move this Court

for an Order for admission to practice pro hac vice to appear as counsel for Defendant

Cyrus R. Vance, Jr., in the above-captioned matter.

      I am in good standing of the bar of the District of Columbia. There are no

pending disciplinary proceedings against me in any state or federal court.


Dated: August 3, 2020                    Respectfully submitted,

                                   By:     /s/       Walter Dellinger
                                         Walter Dellinger
                                         Duke University Law School
                                         Science Drive & Towerview Road
                                         Durham, NC 27706
                                         (919) 613-8535
                                         wdellinger@omm.com
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DONALD J. TRUMP,

                    Plaintiff,                 Case No. 19-cv-8694

              v.                               DECLARATION OF
                                               WALTER DELLINGER
CYRUS R. VANCE, JR., in his official
capacity as District Attorney of the
County of New York, and MAZARS
USA, LLP,

                    Defendants.


      I, Walter Dellinger, declare that:

      1.     I am a law professor at Duke University Law School. Cyrus R. Vance,
             Jr., in his official capacity as District Attorney of the County of New
             York, is listed as a Defendant in the above captioned action. I am over
             the age of eighteen and am under no mental disability or impairment.

      2.     I have never been convicted of a felony.

      3.     I have never been censured, suspended, disbarred, or denied admission
             or readmission by any court.

      4.     There are no pending disciplinary proceedings against me in any state
             or federal court.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is

true and correct.


Executed on August 3, 2020

                                   By:       /s/       Walter Dellinger
                                           Walter Dellinger
                                           Duke University Law School
                                           Science Drive & Towerview Road
                                           Durham, NC 27706
                                           (919) 613-8535
                                           wdellinger@omm.com
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 DONALD J. TRUMP,

                     Plaintiff,               Case No. 19-cv-8694

               v.                             ORDER FOR ADMISSION
                                              PRO HAC VICE
 CYRUS R. VANCE, JR., in his official
 capacity as District Attorney of the
 County of New York, and MAZARS
 USA, LLP,

                     Defendants.


      The motion of Walter Dellinger for admission to practice pro hac vice in the

above captioned action is granted.

      Applicant has declared that he is a member in good standing of the bar of the

District of Columbia; and that his contact information is as follows:

              Walter Dellinger
              Duke University Law School
              Science Drive & Towerview Road, Durham, NC 27706
              (919) 613-8535
              wdellinger@omm.com

      Applicant having requested admission pro hac vice to appear for all purposes

as counsel for Defendant in the above entitled action.

      IT IS HEREBY ORDERED that Applicant is admitted to practice pro hac

vice in the above captioned case in the United States District Court for the Southern

District of New York. All attorneys appearing before this Court are subject to the

Local Rules of this Court, including the Rules governing discipline of attorneys.


 Dated:
                                         United States District Judge
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  On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                   the District of Columbia Bar does hereby certify that



           Walter E Dellinger, III
        was duly qualified and admitted on March 10, 2000 as an attorney and counselor entitled to
                    practice before this Court; and is, on the date indicated below, a(n)
                              ACTIVE member in good standing of this Bar.




                                                                           In Testimony Whereof,
                                                                       I have hereunto subscribed my
                                                                       name and affixed the seal of this
                                                                            Court at the City of
                                                                       Washington, D.C., on August 3,
                                                                                    2020.




                                                                             JULIO A. CASTILLO
                                                                               Clerk of the Court




                                                                   Issued By:
                                                                            District of Columbia Bar Membership




For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                    memberservices@dcbar.org.
